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video content:        (silence)

Betsy Bates:          ... Motion order. We need a motion to approve the agenda- to approve the
                      open session agenda as presented.

Daniel Brice:         Motion.

Jason Goodson:        Second.

Betsy Bates:          Motion and a second. Any discussion? All those in favor, say: "Aye".

Jason Goodson:        Aye.

Daniel Brice:         Aye.

video content:        [Crowd responding] Aye.

Betsy Bates:          Those opposed, "Nay". Just one item for open session tonight. Um... Vice
                      President Brice asked that we revisit the decision on The Bluest Eye, so I'll turn it
                      over to him.

Daniel Brice:         I make a motion to rescind the decision not to retain The Bluest Eye by Toni
                      Morrison.

Erin Abbott:          Second.

Betsy Bates:          The motion and the second. Any discussion?

Sandy Garber:         Yes. I believe that the consequences of rescinding this... That's what you're
                      asking to do, is to rescind the decision to ban it. Correct? And so... Given the fact
                      that our students in our schools are minors, this would be allowing our minor
                      students to have access to that book. Is that correct? Is that your reason for
                      that?

Daniel Brice:         Yes, it would be correct. But we also have a policy in place; that the parents can
                      reach out if they don't want their kids reading this book and let, uh,
                      administration know and they will make sure their kid does not read the book,
                      or cannot check it out, I should say.

Sandy Garber:         Have we discovered, or have we had... I mean, I'd like for us to have
                      conversation about the options for Destiny. I've heard- we've all- we've all read
                      some various emails about the capabilities of Destiny, and how it hasn't been as
                      parents would like it to be. People have checked out books and ultimately, you
                      know, um, the information has been given about the- another child, not their
                      student. I'm not real sure about its accuracy. And I think that there's better
                      programs. [crosstalk 00:03:04].



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Daniel Brice:         I think we- I think we would all agree, we could definitely update policy and
                      procedures in areas. Uh... But I think tonight what we're trying to do is, uh, you
                      know, make this motion to rescind the decision that was made earlier.

Jason Goodson:        Yeah, maybe if I- I will, in- this isn't any different than I've said before. I think,
                      maybe, it's to echo something of what Director Garber is saying. I think we've
                      discussed, you know, this- this specific book is one book, and that's what we're
                      here for tonight.

Jason Goodson:        We have other challenged materials that are coming through the committees,
                      or through other mechanisms, et cetera. What we've talked about is exploring
                      what tools and processes we have, what other things we could add... that was,
                      you know, not just in terms of potential restrictions or otherwise, but also
                      around our processes in terms of purchases and other things. We talked about a
                      various set of things to consider, just given the landscape that we're in and the
                      concerns that exist within the community.

Jason Goodson:        And so, my views... You know, this vote, this specific issue is- is just that. As we
                      come forward with other challenged materials, or other considerations that-
                      yeah, that the administration bring forth some consideration around what
                      differently, you know, we can do, as it relates to those concerns.

Betsy Bates:          All right, we have a motion of the second. Any other discussion?

Kathryn:              All those-

Sandy Garber:         [crosstalk 00:04:21] Other than the fact that... Do you understand the
                      implication by not doing this, totally? I mean, there's a lot more at stake here. A
                      lot more at stake. Not just for today, but in the future as well. This is- we are not
                      the only school district around the nation that is battling books that are sexually
                      explicit. We are not the only ones.

Sandy Garber:         There's a lot to be considered here and especially, you know, you were all
                      advised about some last minute information, so I'd - I think that there's some
                      circumstances that no longer apply.

Daniel Brice:         And like I said, I think... And Jason said, that we're- we are taking that into
                      consideration, and we are gonna be working on the policy and procedures to
                      help the librarians, um, with this problem. So I- I think, moving forward, you
                      know, we are gonna get better at that practice.

Sandy Garber:         I think that you had- I think that we all had gotten a lot of feedback from our
                      parents, prior to that vote. And four of us voted for that; voted to ban the book,
                      based on the information that we had at the time as well. And nothing's
                      changed at that point in time.




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Sandy Garber:         Specifically, that book is extremely, I believe, extremely detrimental to any
                      young child. Our children are minors. This is not a book... Even if they went to
                      the library. Because there are some schools, that one of their policies is that
                      they don't have a library. You're gonna have to go to the public libraries to get
                      the books. They don't- they won't- they won't be having their library in the
                      school. And yet, if they went to the public library, a child went there to get this
                      book in the public library, they're not getting it. They're not old enough to get
                      that book. They are minors and they're not gonna be given the book, period.

Sandy Garber:         As I use the example; if they went into a- an adult- an adult bookstore, they'd
                      be- they'd be told that they can't stay there, they can't be in that store, it's an
                      adult bookstore. This is an adult book, and it would be rated for at least 18 years
                      and up. Our children are minors in this district.

Sandy Garber:         We've already seen- I've already seen, and I think, uh, everyone was in on it as
                      well, in on the thread where there's been children who were, yeah, they might
                      be in the high school level, but they're 15. They're not- they're not adults, they
                      are minors. I really want people to take that into consideration and I really think
                      that it's not just our kids.

Daniel Brice:         And I understand that. And I think this book has brought- [crosstalk 00:07:31]

Sandy Garber:         But you voted for- you voted for it. You- you were one who voted with three-
                      three of- of us.

Daniel Brice:         Right.

Sandy Garber:         And you did that.

Daniel Brice:         And I understand that, and I think we brought enough attention to this book
                      that the parents are aware that this book is gonna be in the library, and if they
                      don't want their kids reading it, they can- they can call up and make it to where
                      their kids are not able to check the book out of the library.

Daniel Brice:         Now, the books moving forward, I think everyone can agree that we need to
                      tighten up our policy and regulation on some of the books that are being
                      challenged now. Um... But with this book, moving forward, I- I stand by my
                      motion.

Betsy Bates:          All right. We'll go ahead and vote.

video content:        [inaudible 00:08:13]

Betsy Bates:          We can. So, Vice President Brice made a motion to rescind the decision to not
                      retain The Bluest Eye by Toni Morrison. That would be the motion that we're
                      currently voting on.



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Kathryn:              Secretary Schaper?

Dale Schaper:         Nay.

Kathryn:              Director Goodson?

Jason Goodson:        Aye.

Kathryn:              Vice President Brice?

Daniel Brice:         Aye.

Kathryn:              Director Abbot?

Erin Abbott:          Aye.

Kathryn:              President Bates?

Betsy Bates:          Aye.

Kathryn:              Director Garber?

Sandy Garber:         Absolutely not.

Kathryn:              Director Stolle?

Shannon Stolle:       Aye.

Betsy Bates:          All right. So the previous motion was rescinded, so now we would need... We're
                      essentially at neutral action, so we would need an action.

Daniel Brice:         So, I make the motion to accept the recommendation of the challenge material
                      committee to retain The Bluest Eye by Toni Morrison.

Erin Abbott:          Second.

Betsy Bates:          All right, we have a motion and a second. Any other discussion? We'll do role
                      call vote as well. [crosstalk 00:09:15]

Sandy Garber:         So, we are willing to put this into, uh, our libraries and allow our children...
                      Again, there's- this is not- Destiny is not fool-proof. There isn't anything that's
                      fool-proof; not even the computers and all of our technology. That's not fool-
                      proof, none of it is. And the damage that you could do to, I think, to the mental
                      stability of a child, I think is apprehensible.

Sandy Garber:         Unbelievable that anybody would even want these books. You mean there
                      aren't any other books that children could read that would pass? I was on that

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                      second committee, by the way, and I read a book after being told that I had to
                      have an open mind. I did have an open mind; I passed it. I thought it was a good
                      book, I thought it offered something to our children. The Bluest Eye doesn't
                      offer anything to our children.

Sandy Garber:         I ask again, what is the academic, education value of that book? What is it?
                      Nobody's answered that correctly yet. There isn't- that's because there isn't any.
                      There is no educational value to it. Would you want- are you going to allow your
                      kids to read it? Any of you that have voted for it, are you going to allow your
                      children to read it?

Sandy Garber:         And as I had said to most of- to everyone anywhere, if you want your child to
                      read the book, go and buy the book. It's not- I'm not asking for this book to be
                      banned in the state of Missouri, or even in our country. But a book like this, it
                      doesn't belong in any public school, any- in any state in our country. It doesn't
                      belong there. These are minor children, and we have laws on the books that are
                      going to protect these children from those kinds of things. And yet-

Betsy Bates:          Thank you for your comments, Sandy. Anyone else have any comments before
                      we vote? All right. Kathryn, we'll do role call vote. And again, just to- so, the
                      motion is to accept the recommendation of the challenge materials committee
                      and retain The Bluest Eye.

Kathryn:              Secretary Schaper?

Dale Schaper:         Abstention.

Kathryn:              Director Goodson?

Jason Goodson:        Aye.

Kathryn:              Vice President Brice?

Daniel Brice:         Aye.

Kathryn:              Director Abbott?

Erin Abbott:          Aye.

Kathryn:              President Bates?

Betsy Bates:          Aye.

Kathryn:              Director Garber?

Sandy Garber:         Absolutely not.



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Kathryn:              Director Stolle?

Shannon Stolle:       Aye.

Betsy Bates:          All right. So we will adjourn open session... Do we need a motion?

video content:        [inaudible 00:12:07]

Betsy Bates:          All right, so we need a motion to adjourn open session to go into our, um, work
                      session with MSDA.

Daniel Brice:         Motion.

Jason Goodson:        Second.

Betsy Bates:          Okay. All those in favor, say: "Aye".

video content:        [Crowd] Aye.




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